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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF MICHIGAN
SOUTHERN DIVISION
NATALIE REESER,
Plaintiff,
Vv Case No. 2:14-cv-11916-GCS-MJH
Hon. George Caram Steeh
HENRY FORD HOSPITAL,

Defendant.

/

DEPOSITION OF JILL HOOD

Taken by the Plaintiff on the 5th day of May, 2015,
at the office of Keith D. Flynn, 600 W. Lafayette Blvd.,

Detroit, Michigan at 10:00 a.m.

APPEARANCES :

For the Plaintiff: MR. KEITH D. FLYNN (P74192)
Miller Cohen, P.L.C.
600 W. Lafayette Blvd., 4th Floor
Detroit, Michigan 48226-0840
313.964.4454

For the Defendant: MR. TERRANCE J. MIGLIO (P30541)
MS. BARBARA E. BUCHANAN (P55084)
Varnum LLP
39500 High Pointe Blvd., Suite 350
Novi, Michigan 48375
248.567.7828

Also Present: NATALIE REESER, via telephone

Reported by: TAMARA A. O'CONNOR

CSMR 2656, CER 2656

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1]A It is unpaia.

2190 If a break is unpaid, does that mean that the

3 individual has to remain at the facility?

4]/A It depends on the facility.

5] Q So if a break is unpaid, you may still require an
6 employee to remain at the facility?

TULA If the break is unpaid--let me think about that a
8 second.

9;9 Take your time.
10 /A So if it is unpaid and they are mandated to remain
11 at the facility, then we would need to pay them for
12 their time.

13/9 What if an employee is told that they are not to be

14 paid for lunch? Would they still be required to

15 remain at the facility?

16]/A It would depend on the circumstances as to why they

17 were told that they were not getting paid for lunch.
18} 90 What circumstances are you thinking of?

i9/A I guess that would be my question to you. I guess I
20 didn't understand why if they are being told to stay
21 there, why they wouldn't be paid.

2219 Well, let's say that they are just not paid for

23 those lunch periods, but they are still required to
24 remain at the facility.
25 ;,A That should not be occurring.

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Correct.

So have you ever countermanded a decision to
discipline or discharge?

I don't understand the question.

So a supervisor comes to you and says, "I want to
discipline or discharge this employee." Have you
ever said, "No, you may not"?

No.

I've seen documents from Henry Ford that refer to
Group 1 and Group 2 misconduct. Could you explain
the difference?

Yes. it's based on levels of severity. A Group 1
are things such as attendance. Group 2 are things
sucn as insubordination, walking off the job, things
that aré more serious in nature.

And what constitutes walking off the job?

Leaving your assigned work area without
authorization.

So when there is no notice provided to the employer
and someone walks away, that would be walking off
the job. Correct?

Yes.

As opposed to attendance. If there is an attendance
violation, that is when someone notifies management

but then doesn't show up. Correct?

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I cannot think of specific names right off the top
of my head, no.
So you can't give me a specific example?
I cannot.
And can you recall any of the specific circumstances
related to any of those individuals?
Not at this time, no.
What is the regular progressive discipline policy
for Group 2 violations?
I'm sorry. I don't understand what you mean.
Okay. Well, do you know what progressive discipline
is?
I do.
What is the progressive discipline policy for Group
2 violations? What order of the disciplines,
starting from less severe to most severe?
The discipline track is written warning--I'm sorry,
documented counseling, written warning, written
warning with suspension and then termination.

So the policy for--the procedure for a
Group 2 is that depending on the situation you can
skip steps. You don't have to go one to the next.
And you have testified you can't think of the
circumstances as of today. Correct?

The circumstances for what? I'm sorry.

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One.

So the employer could be without any notice that an
employee is not going to report to their shift, and
yet that employee would still only receive one
occurrence?

It's one cccurrence and then it's one incident, but
it in and of itself issue is warranting a written
warning with suspension.

How many occurrences before you're terminated?

It depends where you are in the corrective action
path.

Say you're at the beginning?

You're at the beginning?

You haven't even received a verbal or written
warning yet.

Okay. So three occurrences in 30 days, you are
going to get your first corrective action. If then
you have three in 30 or four in 90 or seven at 160,
you are going to get your next corrective action.
So it just keeps bumping up, based off of where you
are on the--

Correct.

Scale. Got you. Are lunches mandatory at Henry
Ford in the lab outreach?

Mandatory? No.

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mw OO Ff © PF

so let me parse that out. You mentioned that Henry
Ford has a policy where you encourage employees to
take lunch. Correct?

There is not a policy that encourages it. It is our
practice.

Oh, I'm sorry. Practice.

Yes.

You have a practice that you encourage employees to
take a lunch.

Correct.

What is the rationale for that practice?

Wellness.

And what do you mean by "wellness"?

Given time to step away for a few minutes to be able
to--whether it's to get some sustenance, to get
something to drink, just to be able to take some
time to decompress.

Any other reasons for that practice?

For the patients. We--to ensure that the employees
aren't running themselves down and that they have
had some time away and can come back refreshed.

Any other reasons for the practice?

Not that I can think of.

Why is the policy that employees will receive an

unpaid lunch, as opposed to a paid lunch?

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Oo FP DO F OD FF DO YF OO PF

(At 12:28 p.m., Plaintiff's
Deposition Exhibit 2 marked)
(By Mr. Flynn) This will be Exhibit 2. Let me know
when you are done reviewing it.
(Witness complied).
Have you ever received an E-mail like this before
from Ms. Bork regarding Ms. Reeser, or at least
prior to this E-mail?
Regarding Ms. Reeser? No, I have not.
And you recognize this decument. Right?
I do.
You remember receiving it from Ms. Bork?
I do.
Tt's an E-mail. Right?
It is.
And the date on the E-mail, January 16th. Correct?
Correct.
The first line, it's addressed to you, and it's from
Ms. Bork, and it says:
"Do you happen to know who is meeting
with Natalie at 12:30 tomorrow?"
Do you see that?
I do see that.
Do you recall ever responding to her?

I remember purposefully not responding to her about

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1 that.

249 Okay. Why did she even care?

3 ,A That's why I did not respond, because it's not

4 her--she doesn't have a business need to know that.
5 Employees have a right to come to H.R. and keep

6 their information confidential.

7 So who she was meeting with was irrelevant
8 to Fiona.

9] Why would she--why did you think at the time she

10 cared?

11 /;A Fiona is very thorough. She is very black and

12 white, and she does not iike having things that are
13 unanswered. So when she--when Natalie had told her
14 that she was coming to H.R., that was just a

15 question that she had.

16 So but I do specifically remember not

17 answering that. That was just--

18 |} 9 And did you ever ask her why she was asking?

19 j,A I did not.

20/0 And then she goes on to say:

21 "Some notes from our call the other

22 day."

23 Do you recall that phone conversation?

24 /A Yes. This was in regards to when Natalie was

25 supposed to be--I believe. I would have to
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1 prioritize first, because obviously Fiona had no

2 idea that that is one of the issues that she was

3 going to be raising with me.

4 So if there was validity to that, I needed
5 to find that out.

64,90 Okay, and so what were the issues with Fiona that

7 you just mentioned?

BIA They are all laid out in here, about the performance
9 review, about the meal breaks, not being paid meal
10 breaks, about being told that she would be--

il I don't think she said it in here, but

12 being terminated if she brought it to H.R.'s

13 attention, and also about being asked to perjure

14 herself in an Unemployment hearing for Judy Hale

15 (phonetic).

1640 So just the issues that are raised in here?

17 | A Correct.

1819 What did John say about the lunch issue?

LOA It was--he said, "Thank you for the status update.
20 Keep me posted and let me know what we need to do."
21/0 Okay.

22 \|A Because I touched base with him regularly.

2310 And did you indicate to him that she wasn't being
24 given coverage for lunch periods?
25 ,A Yes.

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The issue is that Natalie had brought some very
sensitive things to my attention regarding the
integrity of Mrs. Bork, things that before I would
say I'm looking into something such as this I wanted
to get to the bottom of first.

I had explained to Natalie that I was
going to be waiting until I was able to do some
investigation before I shared everything with Ms.
Bork all at once.

so I was the one that informed her--
actually my suggestion to her was that, "Go ahead
and submit your time as you normaliy do. I will
make sure that you are paid for this compensable
time, and then moving forward, once I have been able
to speak with Ms. Bork, you put “No lunch’ on your
time card."

Natalie's concern was that she is bringing
this information to me and it would be retaliatory.
Well, when you raise a question of integrity,
whether it is about perjury or whether it is about
saying, "Go to H.R. and you will be terminated," I
want to make sure that I look into that before I
bring any of the other concerns forward.

And did you tell--you told Ms. Reeser all of this

during the January 20th meeting?

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1 the phone with Ms. Bork. You just told her that.

2 What did Fiona say?

3/A That, like I said, was the conversation when she

4 confirmed with me that she had not been paying the

5 lunches, and I let her know that we were needing to

6 do all of the research on it to get her paid.

710 And what did she say?

8|/A "Okay."

910 Anything else?

1O;iA She didn't understand at first why, when she had so
11 much time at that site of down time, why it could

12 not be considered lunch time, until I explained to
13 her that according to the Fair Labor Standards Act
14 you need 30 minutes of uninterrupted time, where you
15 can have that time to yourself.

16], 0 And what did she say at the end of that explanation?
17, A That she had often more than a half an hour worth of
18 time, and that is when I had asked her, "but what if
19 tne phone rings? What if somebody walks in? Is the
20 expectation that Natalie or whoever is manning the
21 site that day answer the call and attend to that
22 patient, or could she say, “No. I'm sorry. I'm on
23 my break right now'"?
24 When Fiona had confirmed with me that, no,
25 she needs to help the client, or she needs to answer

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the phone, that is when I let her know that it's
compensable time.
And what was Fiona's tone during this conversation,
if you could recall?
She was fine with it. Fiona is very concerned about
doing the right thing and doing it consistently.
So if she was required to take a lunch, why was she
not provided a lunch on the 25th of February?
If she was required to take--it's not about not
taking a lunch. It's about leaving a site, locking
the door and not having anybody there, about
abandoning your job.
But that's not my question. My question isn't what
you think it's about. My question is, if she was
required to take a lunch, why was she not provided a
lunch on February 25th?
Because they were still doing the exact same
schedule that they were doing before, like I said.
But here she is saying-—
May I--
This is her saying that it is mandatory for her to
take a lunch--

MR. MIGLIO: Stop. Stop. Let her answer
the--we're going to take a break. Okay? We're not

coming back until--

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Okay. Well--

She did not try to call. She did not try to contact
anybody through the appropriate channels. That's
why she was let go.

So she didn't contact Fiona?

E-mail is not the way to get approval for something
that you need urgently.

Okay.

A two-minute and ten-second response time is not
realistic in anybody's view of-+-~

Let's go through the events that you discovered from
February 25th. On February 25th, what is the first
you heard about this situation developing with
Nataiie?

I received an E-mail from Fiona. Fiona had
forwarded me Natalie's E-mail, saying that she
needed a break and that she was leaving, and that
she was-—

Zo don't recall the E-mail, if it said that
she was locking the facility or not. FPiona had
forwarded that E-mail to me, asking if that was
something that she could do.

And did you respond to that E-mail?
I called her.

And what was discussed via the telephone calli?

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1]A I asked her to fill me in on what exactly happened,

2 what was the timeframe, if there was anything that

3 Martha--if Martha was at the site, if there is

4 anything that Martha knew.

5 I asked if she truly did leave like she

6 said that she was going to. Fiona asked me if that

7 was something that was acceptable, can she just do

8 that.

9 When I found out that there was no waiting
10 ror approval, she did not follow the proper protocol
11 to be able to get approval, then we had discussed
12 suspending her pending an investigation.

13 10 Let's take each one of those. You had a couple--
i4 several questions for Fiona. Your first question
15 that you asked her was what?
16/A My first question was did she really indeed leave
17 the facility and leave it unattended.
18/9 And what did Fiona say?
19 ]A She said yes, she did.
2040 Wnen did you make this phone call to Fiona?
Zi A After I got Fiona's E-mail.
22 | 0 Was it immediately after she had sent you the
23 E-mail?
24 /,A It was maybe within three, four minutes.
25/0 So you talked to Fiona, and you asked that question.
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She said, "Yeah, she left."

Correct.

The second question was, was Martha there, was she

aware of anything. Right?

Correct.

What did she say?

She said that Martha was there, that she got the

Same E-mail, that she was in the back office ona

call, on an EPIC call, and that there--that was all

the information that she had had, that there was--
Natalie did not go in and say, "I need to

leave. Is there any other way to get a hold of

Fiona" or anything like that. She just sent the

E-mail, went and got her belongings and left.

And in your subsequent investigation of this, did

you ever talk to Ms. Reeser about what Martha had

told her, about any conversation she had with Martha

that day?

I'm not sure what conversations you are referring

to.

Weli, okay. In your discussions following this, did

you ever discuss with Ms. Reeser any conversation

she had with Martha that day?

I don't mean that I was confused about my

conversations with Natalie. What I meant was

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1 confused about Natalie's conversations with Martha.
2 What conversations are you referring to?

310 I'm not asking you that. I'm asking you whether or
4 not you had any conversation with Ms. Reeser about

5 any conversations that took place between Natalie

6 and Martha.

TA No.

810 Okay. Then did you--

QA i asked her if she spoke with her before she left.
10/0 When did you ask her that?

11 ]A During-~-after Natalie had called me, after she had
12 been suspended, right immediately after she lieft the
13 facility. She called me very upset, and I asked her
14 before she left if she had had any conversations

15 with Martha.

16 She told me no. That was the only

17 conversation I was concerned about at that point.
18/9 Did you--so you are saying that any assertion made
19 by Plaintiff that she had a conversation with Martha
20 is false?
Z2L9GA I'm not sure. I'm saying that if she is saying that
22 there was a conversation between when the E-mail was
23 sent and the two minutes and ten seconds between
24 when she left, both Martha and Natalie had told me
25 there was no conversation that had occurred during

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But she was leaning towards that way, and I didn't
want to see her going down that path.
So now there were two good conversations with Jill.
When were these conversations?
I don't recall.
And one said--it said it was "this week," but it
doesn't indicate when. So you don't recall that?
I do not. Like I said, I saw this for the first
time last week when Terry had showed it to me during
our prep, so I don't recall.
When insubordination was brought up by John, were
these during your calls back and forth or your
meetings back and forth where you were updating him
on the FLSA issue?
That is correct.

{At 2:32 p.m., Plaintiff's

Deposition Exhibit 10 marked)
(By Mr. Flynn) Can you review this to yourself and
let me know when you are done?
Certainly. (Witness complied).
So let's start from the beginning, so with the first
E-mail in this chain. Do you recognize this chain
of E-mails?
I do.

The first one is from Natalie to yourself on

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1 February 18th. Right?

2 iA Correct.

319 And in this E-mail she goes on to state that:

4 "EZ still have heard nothing on the

5 lunches I don't get yet am still not paid

6 for either. I have no choice but to file

7 the paperwork with the state."

8 Do you see that?

9|A I do.
10 | 90 Did you discuss this E-mail with anyone?
117A I discussed it--no, actually. All I did was reply
12 back, and I included my boss, as you will see,
13 because part of my response was, "If you would like
14 to meet with my boss, here is her info."
15,90 And so you didn't discuss this with anyone else?
16/A I did not.
17 | Q And by "paperwork," what was she referring to here?
18 |/A I'm not sure.
19/0 You don't know, even though it says, "paperwork with
20 the state"?
21a No, because, as I said, you will see from my E-mail,
22 TI did not ask for E-mail clarification on this, and
23 I did not have a phone conversation with her.
24 What I did was I addressed her concerns as
25 to the length of time that it was taking and gave

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her the option as she requested to meet with my
direct manager if she wanted to.

Excuse me, but I'm trying to get an answer to the
question I asked which is, at the time what did you
think she was referring to when she said that she
had no choice but to file the paperwork with the
state?

I don't know what she was referring to.

You didn't follow up with that issue?

This was my follow-up.

You didn't follow up with anyone else regarding the
issue that she was planning to file paperwork with
the state?

No, I did not, because her--to me, her intent was
Clear, that she was going to file whatever paperwork
she wanted if she wasn't getting resolution.

So my response was to explain the
situation to give her the resolution, to assure her,
as I had in the past, that this was in progress and
she was going to he paid.

Did you ever--do you know whether or not Debra had
ever informed John about her threat to go to the
state?

I certainly can't be 100% positive of what anybody

else does, but Debra wasn't having conversations

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with John. John was my contact, so there would be
no reason for that communication there.

Isn't this her saying that the company may be liable
and "I'm going to go pursue my legal rights"?

MR. MIGLIO: Objection as to the form and
Foundation.

THE WITNESS: We were already doing what
we needed to do to mitigate our liability and to
ensure that the proper payments were made, because
as I assured Natalie, we already had recognized that
we did owe her money back and that that was going to
be paid out to her, as she referenced in here, that
she hadn't gotten her payment yet.

(By Mr. Flynn) Could this be interpreted to mean
she is going to the state to report you?

It could be interpreted many different ways. That's
not how I interpreted it.

Can this be interpreted by a reasonable person
looking at this to be a threat to go to the state to
report the FLSA violations involving the lunches?

MR. MIGLIO: Objection as to form and
foundation.

THE WITNESS: It could be--

(By Mr, Flynn) Yes or no?

Yes.

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1/90 You mentioned that there was a decision made to

2 transfer Ms. Reeser. What was the rationale for

3 that decision?

4 MR. MIGLIO: Oh, boy. I got to object to
5 this, because you asked this two times already. Go
6 ahead. Answer it again.

7 THE WITNESS: There was no decision made
8 to transfer her. As I said, they don't transfer

9 within the lab. It is part of the expectation that
10 they can rotate at any time as needed.

1i |] oO (By Mr. Fiynn) What was the rationale for that?

12 /)A The rationale for that was that they had lost an

13 individual at one of the other sites. They needed
14 coverage.

15 Now that was also paired with the fact

16 that Natalie had already stated that she was not

17 feeling safe at that site and didn't want to wear
18 her engagement ring.

19 So Fiona had thought that this would be a
20 good opportunity. We need the coverage there.
21 Natalie is not feeling safe here. We will doa
22 rotation.
23 10 What expectation was there for her to be returned to
24 Clinton Township?
25 MR. MIGLIO: Objection as to the form.

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1 Whose expectation? Maybe you want to narrow it

2 down.

3 MR. FLYNN: The company's.

4 MR. MIGLIO: That is a pretty large number

5 of people. The company. That is a pretty large

6 number of people. Object to--

7 MR. FLYNN: Counsel, are you done with

8 your speaking objection?

3 MR. MIGLIO: I'll object to the form of
10 the question. The company isn't--

11/90 (By Mr. Flynn} So again, what was the anticipation
12 that Ms. Reeser would be returned to Clinton

13 Township?

14 MR. MIGLIO: Same objection.

15 THE WITNESS: I am not sure.

16190 (By Mr. Flynn) You didn't ask?

17 | A I did not ask, because again, we do not run the

18 operation of the business, and the expectation when
19 all of them hired in was that they would rotate as
20 necessary based on staffing.
21] 0 So she may have been moved there for a very lengthy
22 time. You didn't know?
231A I didn't know, but even if the answer would have
24 been yes--
25 | Q So the answer is, you didn't know. Right?

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oO PF OO FP Oo YF O Ff

Nobody knew.
Okay.

MR. MIGLIO: I think you are supposed to
ask her if she is answering your question before you
go straight through now.

MR. FLYNN: Counsel, I think it was clear
that she had already answered that one, but you
know, if you want me to belabor the point and go
into another lengthy debate of whether she had or
had not when it was clear that she had answered it
with ano, I don't know.

It just seems like you are trying to delay
at that point.

(At 2:36 p.m., Plaintiff's

Deposition Exhibit 11 marked)
(By Mr. Flynn) bet me know when you are done
reviewing it, if you would.
I will. (Witness complied).
What is this? What is Exhibit 11?
Tt's an E-mail.
It's a chain of E-mails. Correct?
Yes.
And you recall receiving this E-mail?
Yes, I do.

This is from Fiona Bork to yourself and John.

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final decision on that, and they said, "Yes, indeed,
you're right. It is compensable time."
So that is the final decision that I was
referring to.
So that was before her suspension?
Well before.
Then I'm skimming along to the next page. This is
HFH 605, and--
I'm sorry. I don't have a 605. I have--
Do you--
Oh, I'm sorry. It's in the other--that's okay. I'm
with you now.
I apologize, yeah. It's kind of confusing how we
did it, but--
That's okay.
I'm looking at the first E-mail here, February 28th,
from Fiona, and she writes to you:
"Jill, I spoke with both Luain Hajjar

and Maria Anger and asked them the following:

Have you ever witnessed Natalie Reeser

placing a sign on the door at our Clinton

Township PSC and closing the site to take

a lunch,"
and she goes on to discuss what they told her?

Yes.

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Who are Luain and Maria?
Luain and Maria are sales managers, so they are part
of the lab outreach, but they do not manage people.
So they are with Sales?
Correct.
Why did she speak with them about this?
Because Natalie's response when I had asked for
further clarification, saying, "You told me that you
previously had authorization. Who authorized you,”
she specifically told me Luain, Maria and Martha
Wiseheart.
Didn't you reach out to them individually?
No, I did not.
Why did you choose not to reach out to them
individually?
Because Fiona was the one that needed to get the
statements at that point.
Why is that?
That was just part of our business decision.
Was there any conversation regarding who was going
to get the statements?
Not that I recall.
So you could have done it technically?
Sure. 2 could have, yes.
But you didn't?
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1 inform Payroll and do one big check.

210 So you are saying that 606 should be at the bottom
3 of 605. Is that correct?

4A yA That is correct. That is correct. I don't know why
5 it came out that way, but it would make much more
6 sense after saying we need to make sure to pay her
7 appropriately for me to then say, "Go ahead and

8 start using the first date that she wrote ‘no

9 lunches’ on her time card."

1010 So now I'm looking at HFH 604, and Fiona writes to
1i you:

12 "I'm so sorry if this in any way

13 screwed anything up"?

14/A Yes.

15|90 Do you know what she is referring to?
16],A Because I told her that we needed to comply with the
17 fact that she wasn't being paid properly.
18 | 0 Well, what was she screwing up?
19 ]/A The back payment.
2010 Did you follow up with her about what she meant by
21 this?
22 ,A No. It was very clear to me what she meant by this,
23 because we had been talking all along about the fact
24 that we needed to get her paid.
2510 So then it goes on to say:

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1 you just rely on this statement from Reeser?

2,A No. I individually followed up with John.

310 Ox, I'm sorry, from Bork?

4/A From Bork. Wo. I followed up with John as well.
510 And when did you follow up with him?

OTA I do not recall if it was-~the exact date. It would

7 have been obviously prior to the discussion with

8 Natalie that we were ending her employment, but I

9 don't have the exact date.

10790 Do you recall what was said during that meeting?
11]A I do. I let him know that we had finalized the

12 investigation, that there was nothing that I could
13 find that could identify any type of--make any

14 circumstances that would lend this to be anything
15 other than job abandonment, and therefore my

16 recommendation was to proceed with termination if he
17 was in support.

18/0 And what did he say?

19 /A He said he was in support.

20/0 Did he ask any questions?
211A He had lots of questions, but I had also been
22 updating--as we had talked, I had been updating him
23 all along as well.
2410 What questions did he raise?
25 ,A I don't remember his specific questions. He had

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1 questions about the investigation, if I was

2 comfortable with things, did I get the statements

3 back that I had already updated him on, so he had

4 follow-up questions from our previous conversations.

5|90 Were any notes made by--during this meeting with

6 John?

7 A No. It was just a phone call with him, a regular

8 update meeting.

9] Q Now I'm looking on HFH 72, which is the second page
10 of this exhibit. I'm looking at the second to last
11 sentence in this document. It says:
i2 "I do believe that potential litigation
13 may come from this. That is why I want to
14 make sure I have all possible documentation
15 prior to proceeding with termination.”

161A Yes.

17 4Q Why did you believe that litigation could come from
18 this?

19 ]A Because it was very unfortunate, the timing between
20 when her actions of walking off the job so closely
2i corresponded with when we were going to be issuing
22 her back pay for the lunches, and it's very clear to
23 me-—-

24 Clearly I'm not an attorney, but even the
25 prima facie of that is that it looks odd, so that's

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Resources about this unpaid lunch concern."
You are not disputing she did inform you that is
what--at the January 20th meeting that--
That is correct.
Is there any record of the conversations that
followed that you have discussed a little bit later
regarding the co-workers?
What do you mean, any record?
Any documentary record that you discussed with what
you discussed with these individuals?
Yes. That was the document that you and Terry were
talking about, that you said that he didn't--
On. Okay. So let's go into what powers Fiona has
te change HFHS policies. What is her authority to
amend them or modify them?
If it's based--any manager can create their own
departmentai procedures. Okay. So for instance,
the Attendance Policy.

She couldn't say, "This is our new
Attendance Policy and/or one occurrence you get a
corrective action." No. You have to go with the
hospital guidelines.

However, what she can say is, "This is how
we enact the hospital-wide policy," meaning here is

how you call in. Here is how you notify if you are

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going to be late or if you need to not be in today.
Here is the procedure that you follow.

That is what the business units or the
departments have the ability to create.
What if the departmental policy infringes upon and
takes away a right guaranteed by the HFHS policies?
Then we would need that brought to our attention
right away so that we could rectify that.
So if there is a policy or procedure that is put
into place by Fiona that prohibits a person from
receiving benefits afforded by the HFHS policy, that
would be a violation. Right?
I wouldn't say it would be a violation. It would be
an error that we would need to look at and rectify.

(At 3:50 p.m., Plaintiff's

Deposition Exhibit 20 marked)
(By Mr. Flynn) This is Exhibit 20. Have you seen
this document before?
I have.
What does it appear to be?
Well, it's a compilation. It's my chronology report
as well as my investigation summary that we had just
reviewed.

The documentation that I had submitted the

compensation to get her back pay check issued to her

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Are those--
So that is what this is saying, is that there needs
to be the approval for that.
Is that ever communicated to lab outreach employees?
It's communicated to all employees.
Where do you get that from?
I would have to find the policy, but, I mean, that
has been our practice for the nine and a half years,
nine years that I have been there.
But if a departmental--let's say if Fiona says
this--it's mandatory unpaid lunch, and she sends
that cut to everyone, you might not be privy tio
that. Correct?
Certainly there are things that we don't know about.
And so if lunch is mandatory, unpaid lunch is
mandatory for her based off of what Fiona says, then
if you look at this provision, how could you--how do
those two things not conflict?
That's why we were working to, as we keep saying, be
able to put something in place to move forward so
that the employees could take the unpaid break.

The way that it was set up in the interim
in between when Ms. Reeser brought it to my
attention and until we were able to get something in

place with the physicians' office was that even

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though she couldn't take an uninterrupted 30-minute
period, she was going to get paid for that time.

So that was a problem?

What was a problem?

That was a problem at the time, that she couldn't
take an unpaid lunch?

Right. Well, that is what this is ail about.
Right? The back pay for the money for the missed
lunches, that is what this is all about.

But that was a problem that was raised. Correct?
That is correct.

So what if she violated the mandatory unpaid lunch
rule that Fiona laid out? Would that be
insubordination?

What mandatory--I'm sorry. One more time?

If she did not take her mandatory unpaid lunches,
would that be insubordination?

No, because it's very clear as she and I and Fiona
and John had been talking for the month prior, is
that she needed to be able to stay there and then
get paid for that time until we found a way to close
the buiiding.

Was any effort made in between January 20th and the
day that she was suspended to communicate to her

that she is to stay there and not request a lunch

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But it certainly would not have lapsed the entire
pay period, two-week pay period, for her to be able
to write that on her card.
And then from that point forward, Ms. Reeser wasn't
paid?
That is correct, because we were still gathering the
data.
This is the problem I'm having difficulty with,
because then I look down at 5.6, and it says that:
"Employees may leave the premises
during unpaid lunch periods."
Do you see that?
Right.
So why wouldn't she think that she could leave?
Because again--and we have already discussed this
today--
MR. MIGLIO: Several times, I might add.
THE WITNESS: That it's unpaid so that
they can go wherever they want, but since she was
not able to leave the site, that is why we were
saying, "You remain there and we will pay you the
extra 30 minutes."
(By Mr. Flynn) She wasn't paid for that until after
her termination?

Until we were able to--well, it's unfortunate that

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she abandoned her position.
Okay.

{At 4:09 p.m., Plaintiff's

Deposition Exhibit 21 marked)
(By Mr. Flynn) This will be Exhibit 21. There you
go.
(Witness reviewed document).
What is this document?
I don't know.
Is that your signature at the bottom?
It sure is, and I definitely wrote this. I just
don't know--I'm honestly not sure if this is
something that I had drafted to send--and sent to
Terry once we got your=-<the information in about the
lawsuit.
It says HFH at the bottom, so--
Oh, no, absolutely. I mean, I wrote this. It's my
Signature. It's my title, and it is obviously a
summary. This is--I was just going to say this is
something-—

This is a summary that we would put
together for the Appeals Board, and so the only--
unless it was something that I drew up in case she
chose to appeal, because I was anticipating that she

would appeal, using our ADR process.

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ahead," or just iet her go.
Do you mean in general? Because we know that that
did not occur here.
Well, I'm saying that if we do know that occurred--~
assuming that it occurred--
Then it was just a totally different situation, and
a person just went on leave--or went on break and is
late coming back?
Right.
Then, yes, it would be=-it would fall under the
Attendance Policy.
Okay. Now it goes on to say that--under 5.3:
"If an employee has received

corrective action for an issue in the

last year, attendance/tardy occurrences

will be addressed at the next level of

corrective action."
Is that what you were referring to earlier when you
were discussing progressive discipline?
It is.
And you indicated that Reeser didn't have any prior
disciplines. Did that include occurrences?
i'm not sure if she had occurrences, but not enough
occurrences to bring her to the level of Corrective

Action.

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